     6:17-cv-00217-RAW-SPS Document 4 Filed in ED/OK on 06/13/17 Page 1 of 2




            IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF OKLAHOMA

JERARD. D. DAVIS,                               )
                                                )
                      Plaintiff,                )
                                                )
v.                                              )           CIV-17-217-RAW-SPS
                                                )
RAYMOND GLORIA, et al.,                         )
                                                )
                      Defendants.               )

        ORDER GRANTING LEAVE TO PROCEED IN FORMA PAUPERIS

        Plaintiff, a prisoner appearing pro se and seeking to bring a civil action, has filed a

motion to proceed in forma pauperis and supporting affidavit in conformance with 28 U.S.C.

§ 1915(a), as amended by the Prison Litigation Reform Act of 1995 (PLRA). Having

reviewed the motion, the court finds plaintiff is entitled to proceed without full prepayment

of the filing fee, and the motion is GRANTED. Pursuant to 28 U.S.C. § 1915(b)(1),

however, plaintiff shall be required to pay the full $350.00 filing fee as set forth below.

        IT IS HEREBY ORDERED that within twenty (20) days, plaintiff shall pay an

initial partial filing fee of $2.87, which represents 20 percent of the greater of the (1) average

monthly deposits, or (2) average monthly balance in plaintiff’s inmate account(s) for the six-

month period immediately preceding the filing of the complaint. 28 U.S.C. § 1915(b). After

payment of the initial partial filing fee, plaintiff shall make monthly payments of 20 percent

of the preceding month’s income credited to his prison account(s), until he has paid the total

filing fee of $350.00. 28 U.S.C. § 1915(b)(2). Monthly payments collected from plaintiff’s

prison account(s) shall be forwarded to the Clerk of Court each time the account balance

exceeds $10.00, until the full $350.00 filing fee is paid. Separate deductions and payments
   6:17-cv-00217-RAW-SPS Document 4 Filed in ED/OK on 06/13/17 Page 2 of 2



shall be made with respect to each action or appeal filed by plaintiff. The PLRA requires the

district court to assess and collect the $350.00 filing fee even when a case is dismissed before

service of the summons and complaint. See 28 U.S.C. § 1915(b)(1).

       IT IS FURTHER ORDERED THAT The agency having custody of plaintiff shall

collect and forward such monthly payments to the Clerk of Court until the filing fee is paid

in full. 28 U.S.C. § 1915(b)(2). Interference by plaintiff in the submission of these funds

shall result in the dismissal of this action.

       Plaintiff is advised that notwithstanding any filing fee, or any portion thereof, that may

have been paid, the court shall dismiss at any time all or any part of such complaint which

(1) is frivolous or malicious, (2) fails to state a claim on which relief can be granted, or (3)

seeks monetary relief from a defendant who is immune from such relief. 28 U.S.C. §§

1915A, 1915(e)(2)(B). Plaintiff is further advised that the monthly payments will continue

to be collected until full payment of the filing fee has been received by the court, even after

disposition of the case, and regardless of whether relief is granted or denied.

       IT IS FURTHER ORDERED that the Clerk of Court shall not issue process until

further order of the court.

       IT IS FURTHER ORDERED that the Clerk of Court send a copy of this order to

plaintiff’s custodian and the trust fund officer at his institution.

       IT IS SO ORDERED this 13th day of June, 2017.




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